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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ______________________________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; RICKIE YOUNG,
Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THE STATE OF TEXAS, Appellee

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


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Judicial District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Smith County, Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial Court
No. 114-2308-06

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion by Justice Carter








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM&nbsp;
OPINION

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I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Procedural History 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Rickie
Young appeals from the revocation of his community supervision for possession
of a controlled substance.[1]&nbsp; Young pled not true to all allegations that
he violated the terms of his community supervision. After hearing the evidence,
the trial court revoked Young’s community supervision and sentenced him to two
years’ confinement, a $5,000.00 fine, and $140.00 in restitution.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Young
argues the trial court abused its discretion in (1) finding six of the nine
allegations true, (2) ordering payment of a $140.00 laboratory fee as
restitution, and (3) assessing a $5,000.00 fine when the evidence established
Young had paid part of the fine.&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
review a trial court’s decision to revoke community supervision under an abuse
of discretion standard and examine the evidence in the light most favorable to
the trial court’s order. Pierce v. State, 113 S.W.3d 431, 436 (Tex.
App.––Texarkana 2003, pet. ref’d).&nbsp; In a
community supervision revocation hearing, the trial court is the sole trier of
fact. &nbsp;Jones v. State, 787 S.W.2d
96, 97 (Tex. App.––Houston [1st Dist.] 1990, pet. ref’d). &nbsp;The trial court also determines the
credibility of the witnesses and the weight to be given their testimony. &nbsp;Id. &nbsp;It may accept or reject any or all of the
witnesses’ testimony. &nbsp;Mattias v. State, 731 S.W.2d 936, 940 (Tex.
Crim. App. 1987).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
conclude: &nbsp;(1) the trial court did not
abuse its discretion in revoking community supervision, (2) Young failed to
timely appeal any error concerning restitution, and (3) the trial court erred
in assessing a $5,000.00 fine.&nbsp; We modify
the trial court’s order revoking community supervision to reflect a fine of
$4,275.00.&nbsp; We affirm the judgment of the
trial court as modified.&nbsp; III.&nbsp;&nbsp;&nbsp;&nbsp; Revocation
of Community Supervision

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Young
challenges six of the nine allegations made by the State in its amended motion
to revoke.&nbsp; He argues that the trial
court erred in permitting the State to establish possession of cocaine with a
field test performed by a police officer and that the State failed to establish
the remaining nonfinancial allegations. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After
Young was placed on community supervision, the supervision was transferred to
the Dallas County Community Supervision Department.&nbsp; One of the conditions of Young’s community
supervision was “[i]f supervision of your case is transferred from Smith
County, send completed, dated and signed mail-in reports to your Smith County
Supervision Officer by the 15th of each month.”&nbsp;
The State alleged in the motion that Young had failed to comply with
this requirement.&nbsp; Young’s Smith County
supervision officer testified that no mail-in reports were received by the
Smith County Department for the months of July, August, and September 2009 and
for the months of January, March, and April 2010.&nbsp; On cross-examination, the supervision officer
clarified that the reports for these months were not timely received.&nbsp; Young only sent in the reports after
telephone calls or personal contact by the Community Supervision
Department.&nbsp; This evidence is sufficient
to prove Young violated one condition of his community supervision order.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
trial court does not abuse its discretion to revoke a defendant’s community
supervision if the State presents sufficient evidence that the defendant
violated at least one term of the community supervision agreement as alleged in
the State’s motion to revoke.&nbsp; Tex. Code Crim. Proc. Ann. art. 42.12,
§ 21 (Vernon Supp. 2010) (State must prove every element of at least one ground
for revocation by preponderance of evidence); Moore v. State, 605 S.W.2d
924, 926 (Tex. Crim. App. [Panel Op.] 1980); In re T.R.S., 115 S.W.3d 318, 321 (Tex. App.––Texarkana
2003, no pet.).&nbsp; It is not necessary for
this Court to consider Young’s remaining arguments.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
overrule the first point of error.

IV.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Young Failed to Timely
Appeal any Issue Concerning Restitution

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
his second and third issues, Young argues the trial court erred in ordering
Young to pay $140.00 as restitution to the State of Texas.&nbsp; Both Young and the State agree this award was
based on a laboratory fee.&nbsp; Young argues
laboratory fees cannot be awarded as restitution when community supervision is
revoked.&nbsp; In the alternative, Young
argues there is no evidence to support the restitution order.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court imposed the restitution order  in
the original judgment finding that Young was guilty of possession of a
controlled substance and placing Young on community supervision.&nbsp; Although the fine was partially probated, the
restitution order was not probated.&nbsp; Young’s
conditions of community supervision specified that Young was obligated to pay
the full $140.00 of restitution on or before January 29, 2008.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It
is well established that issues related to the original conviction are not
generally cognizable on an appeal from the revocation of community
supervision.&nbsp; Gossett v. State, 162 Tex. Crim. 52, 282 S.W.2d 59, 62 (1955); King v. State, 161 S.W.3d 264, 266 (Tex.
App.––Texarkana 2005, pet. ref’d); see
Manuel v. State, 994 S.W.2d 658, 661–62 (Tex. Crim. App. 1999) (applying
general rule to deferred adjudication).&nbsp;
Young does not allege that any exception to the general rule applies in
this case.&nbsp; See Nix v. State, 65 S.W.3d 664, 667 (Tex. Crim. App. 2001); cf. Jordan v. State, 54 S.W.3d 783, 785
(Tex. Crim. App. 2001).&nbsp; “An appeal from
an order revoking community supervision is limited to the propriety of the
revocation.”&nbsp; Stafford v. State, 63 S.W.3d 502, 511 (Tex. App.––Texarkana 2001,
pet. ref’d).&nbsp; The time for appeal begins
when the sentence is imposed or suspended in open court.[2]&nbsp; Coffey v.
State, 979 S.W.2d 326, 328 (Tex. Crim. App. 1998) (concluding fine which
had not been probated was properly included in judgment revoking
probation).&nbsp; Any error in the restitution
order should have been appealed when Young was convicted and placed on community
supervision.&nbsp; Young’s second and third
points of error are overruled.

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Assessment
of a $5,000.00 Fine

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his final point of error, Young
complains that the trial court erred in signing a written judgment including a
$5,000.00 fine.&nbsp; The trial court orally
pronounced the fine as “the balance of the $5,000 fine.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; “A
defendant’s sentence must be pronounced orally in his presence.” &nbsp;Taylor v. State, 131 S.W.3d 497, 500
(Tex. Crim. App. 2004).&nbsp; Where there is a
variation between the oral pronouncement
of sentence and the written
judgment, the oral pronouncement
controls. &nbsp;Thompson v. State, 108
S.W.3d 287, 290 (Tex. Crim. App. 2003); Coffey, 979 S.W.2d at 328;
see Ex parte Thompson, 273 S.W.3d 177, 178 n.3 (Tex. Crim. App. 2008).&nbsp; “The judgment,
including the sentence assessed, is just the written declaration and embodiment of that oral pronouncement.”&nbsp; Taylor, 131 S.W.3d at 500.&nbsp; Due process prohibits the trial court
from orally pronouncing a sentence and then later, without notice or hearing, entering
a written judgment imposing a harsher sentence.&nbsp;
Ex parte Madding, 70 S.W.3d 131, 136–37 (Tex. Crim. App. 2002).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
State concedes “the judgment of conviction incorrectly shows on its face that a
full $5,000 fine was assessed with no mention of paying the remaining balance.”&nbsp; La’Mia Upshaw, Young’s Smith County supervision
officer, testified Young had been on community supervision for thirty-two
months.&nbsp; Young was required to pay $25.00
a month on his fine.[3]&nbsp; Upshaw testified Young was currently $75.00 delinquent
on his fine.[4]&nbsp; Thus, based on the evidence presented at the
hearing, Young paid a total of $725.00 toward his fine.&nbsp; We have the authority to modify the judgment
to make the record speak the truth when the matter has been called to our attention
by any source. &nbsp;Tex. R. App. P. 43.2; French v. State, 830 S.W.2d 607,
609 (Tex. Crim. App. 1992); Rhoten v. State, 299 S.W.3d 349, 356 (Tex.
App.––Texarkana 2009, no pet.). &nbsp;We
modify the trial court’s judgment to reflect a fine of $4,275.00.&nbsp; 

VI.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court did not abuse its discretion in revoking Young’s community
supervision.&nbsp; Any error concerning the
restitution order has not been timely appealed.&nbsp;
The trial court erred in signing a written judgment assessing a $5,000.00
fine when the trial court’s oral pronouncement was the “balance of the $5,000”
fine.&nbsp; We modify the judgment to reflect
a fine of $4,275.00, as the balance of the fine, and affirm as modified.

&nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jack
Carter

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; February
9, 2011

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; March
2, 2011

&nbsp;

Do Not Publish 











[1]This
case was transferred to this Court from the Tyler Court of Appeals as part of
the Texas Supreme Court’s docket equalization program. &nbsp;We are not aware of any conflict between the
precedent of the Tyler Court and the precedent of this Court on any issue
relevant in this appeal. &nbsp;See Tex.
R. App. P. 41.3.





[2]Further,
the Tyler Court of Appeals has held an error in a restitution order does not
result in an illegal sentence.&nbsp; See Grindele
v. State, No. 12-06-00168-CR, 2007 Tex. App. LEXIS 5198 (Tex. App.––Tyler
June 29, 2007, pet. ref’d) (mem. op.).&nbsp;
Because this case was transferred from the Tyler Court of Appeals, we
are obligated to decide the case in accordance with the precedent of the
transferor court.&nbsp; Tex. R. App. P. 41.3.&nbsp; The error, if any, did not result in an
illegal sentence.





[3]The
trial court suspended $4,000.00 of Young’s fine when Young was placed on community
supervision.&nbsp; 

&nbsp;





[4]We
note that Young argued he was only one month behind on his payments because he
was in jail for the months of April and May.&nbsp;
We also note that a number of Young’s payments were not made timely.







